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IN THE UNITED sTATEs DISTRICT COURT DSJUL _6
FOR THE WESTERN DISTRICT oF TENNESSEE FH b:|,3
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WILLIAM P. WARE,
Plaintiff,

vs. No. 05*223l-Ma/P

FIRST TENNESSEE BANK,

Defendant.

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ORDER TO EFFECT SERVICE OF PROCESS

 

Plaintiff, William P. Ware, filed this prp §§ complaint under
Title VII, 42 U.S.C. § 2000e, against First Tennessee Bank. He
paid the filing fee.

Within thirty (30) days of the date of entry of this order,
the plaintiff shall personally appear at the Clerk'S office and,
upon presenting a copy of this order, the Clerk shall provide
plaintiff one (l) blank, unsigned summons. Pursuant to Fed. R.
Civ. P. 4(b), the plaintiff is responsible for properly filling out
the summons and presenting it to the Clerk for signature and seal.
If the summons is in proper form, the Clerk shall Sign, seal, and
issue it to the plaintiff for service on the defendant. The
plaintiff is responsible for ensuring that service is effected

pursuant to Rule 4(h) of the Federal Rules of Civil Procedure.1

 

l Plaintiff must comply completely with Rule 4, which requires, in

part: "Service may be effected by any person who is not a party and who is at
least 18 years of age."

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lt is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney for the
defendant, or on the defendant if it has no attorney. The
plaintiff shall make a certificate of service on every document
filed. The plaintiff shall familiarize himself with the Federal
Rules of Civil Procedure and the local rules of this Court.

The plaintiff shall promptly notify the Clerk of any change of
address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being
dismissed without further notice.

The plaintiff is advised that the time limit set forth in Fed.
R. Civ. P. 4(m) shall commence running on the date of entry of this

order.

IT Is so 0RDERED this LJ£` day of Juiy, yrs
sAMUEL H. MAYS, JR.
UNITED sTATEs DIsTRIcT JUDGE

 

 

UNITSED`ATES DISTCRIT C URT - WESTERN DT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02231 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

William Ware
1414 Agnes Place
Memphis7 TN 38104

Honorable Samuel Mays
US DISTRICT COURT

